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7
                                  UNITED STATES DISTRICT COURT
8
                                         DISTRICT OF NEVADA
9
       TRUSTEES OF THE BRICKLAYERS &
10     ALLIED CRAFTWORKERS LOCAL 13
       DEFINED CONTRIBUTION PENSION                  CASE NO: 2:20-cv-00224-GMN-BNW
11     TRUST FOR SOUTHERN NEVADA;
       TRUSTEES OF THE BRICKLAYERS &
12     ALLIED CRAFTWORKERS LOCAL 13
       HEALTH BENEFITS FUND; TRUSTEES                JOINT MOTION AND STIPULATION
13     OF THE BRICKLAYERS & ALLIED                   REQUESTING EXTENSION OF
       CRAFTWORKERS LOCAL 13 VACATION                DISCOVERY DEADLINES
14     FUND; BRICKLAYERS & ALLIED
       CRAFTWORKERS LOCAL 13 NEVADA;                 [FIRST REQUEST]
15     TRUSTEES OF THE BRICKLAYERS &
       TROWEL TRADES INTERNATIONAL
16     PENSION FUND; TRUSTEES OF THE
       BRICKLAYERS & TROWEL TRADES
17     INTERNATIONAL HEALTH FUND; and
       TRUSTEES OF THE INTERNATIONAL
18     MASONRY INSTITUTE,
19                         Plaintiffs,
20     vs.
21     PEGASUS MARBLE, INC., a Nevada
       corporation; CYGNUS LLC, a Nevada
22     limited liability company; and GAGIK
       ZARGARYAN, an individual, TOKIO
23     MARINE HCC dba AMERICAN
       CONTRACTORS INDEMNITY
24     COMPANY, a California insurance
       corporation,
25
                           Defendants.
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1             Plaintiffs, TRUSTEES OF THE BRICKLAYERS & ALLIED CRAFTWORKERS LOCAL 13

2    DEFINED CONTRIBUTION PENSION TRUST FOR SOUTHERN NEVADA; TRUSTEES OF THE

3    BRICKLAYERS & ALLIED CRAFTWORKERS LOCAL 13 HEALTH BENEFITS FUND;

4    TRUSTEES OF THE BRICKLAYERS & ALLIED CRAFTWORKERS LOCAL 13 VACATION

5    FUND; BRICKLAYERS & ALLIED CRAFTWORKERS LOCAL 13 NEVADA; TRUSTEES OF THE

6    BRICKLAYERS & TROWEL TRADES INTERNATIONAL PENSION FUND; TRUSTEES OF THE

7    BRICKLAYERS & TROWEL TRADES INTERNATIONAL HEALTH FUND; and TRUSTEES OF

8    THE INTERNATIONAL MASONRY INSTITUTE, by and through their counsel of record, and

9    Defendants, PEGASUS MARBLE, INC., a Nevada corporation; CYGNUS LLC, a Nevada limited

10   liability company; GAGIK ZARGARYAN, an individual, and TOKIO MARINE HCC dba AMERICAN

11   CONTRACTORS INDEMNITY COMPANY, a California insurance corporation, by and through their

12   counsel of record, jointly stipulate and move this Court to extend the discovery deadlines in this matter

13   by 180 days under the schedule below.

14            This is the parties’ first request for extension of discovery in this matter. The overriding purpose

15   for requesting the extension of discovery is the recent addition of Defendant TOKIO MARINE HCC dba

16   AMERICAN CONTRACTORS INDEMNITY COMPANY. No discovery has yet been conducted by or

17   from this Defendant in this matter. This defendant was added via amendment and just answered the

18   Amended Complaint on September 29, 2020. The entry of this new defendant presents good cause for

19   adding time to the current discovery schedule in place.

20            In response to the local rules requirements for granting of such extension the parties state as

21   follows:

22      a) A statement specifying the discovery completed by the parties as of the date of the motion

23            or stipulation.

24            So far the initial parties to this case which consisted of the Plaintiffs and Defendants, PEGASUS

25   MARBLE, INC., a Nevada corporation; CYGNUS LLC, a Nevada limited liability company; and

26   GAGIK ZARGARYAN, an individual, have conducted the following discovery in this matter:

27            1. Plaintiffs served the following:

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1                   I.   Requests for Admissions, Requests for Production and Interrogatories upon Pegasus

2                        Marble.

3                  II.   Requests for Admissions, Requests for Production and Interrogatories upon Cygnus

4                        LLC.
                  III.   Requests for Admissions, Requests for Production and Interrogatories upon Gagik
5
                         Zargaryan.
6
                  IV.    Third party subpoena upon Bank of America
7
                   V.    Third party subpoena upon The Nevada Contractors Board
8
                  VI.    Third party subpoena upon The Nevada Secretary of State.
9
              Defendants have responded to Interrogatories and Requests for Admissions. They are in the
10
     process of compiling the voluminous records requested by Plaintiffs. All three third party subpoenas
11
     have been responded to and resulted in significant production of documents.
12
              2. Defendants served the following upon the Plaintiffs
13
                    I.   Requests for Admissions, Requests for Production and Interrogatories upon the
14
                         Plaintiff Trust Funds.
15
                   II.   Requests for Admissions, Requests for Production and Interrogatories upon Local 13.
16
              The Plaintiffs are currently working on responses to the written discovery noted above served by
17
     the Defendants. In addition to the requests and responses described in this section, the Plaintiffs and
18
     original defendants served initial disclosures upon one another.
19
        b) A specific description of the discovery that remains to be completed.
20
              Significant discovery remains to be completed in this matter. The discovery remaining to be
21
     completed includes Requests for Admissions, Requests for Production and Interrogatories to be served
22
     upon new defendant TOKIO MARINE HCC dba AMERICAN CONTRACTORS INDEMNITY
23
     COMPANY by Plaintiffs. In addition, this defendant will serve written discovery requests and
24
     interrogatories upon the Plaintiffs. With this defendant recently added to the case, there has been no
25
     discovery conducted by or from it.
26
              In addition to the written discovery to be conducted by and from the new defendant, Plaintiffs
27
     intend to depose Defendant Gagik Zargaryan and the persons most knowledgeable for Pegasus and
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                                                          3
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1    Cygnus regarding those companies’ operations and formation. Defendants intend to depose persons most

2    knowledgeable from the Plaintiffs.

3          c) The reasons why the remaining discovery was not completed within the time limit of the

4             existing discovery deadline.

5             There are several reasons why the discovery described in b) above have not been completed thus

6    far. First and foremost, discovery from defendant TOKIO MARINE HCC dba AMERICAN

7    CONTRACTORS INDEMNITY COMPANY was impossible prior to the company being added and

8    answering the amended complaint in this matter.

9             The discovery remaining to be completed between the Plaintiffs and the original Defendants in

10   this matter has been delayed because of the COVID-19 pandemic. Specifically, a member of the staff of

11   the Defendants’ counsel tested positive for COVID-19. More generally, completing discovery and in

12   particular, identification of and production of documents has been made more difficult by the pandemic

13   and its limitations to in-person and in-office meetings.

14         d) Proposed New Discovery Schedule.

15            Some of the current deadlines have passed but the parties believe the addition of the new

16   defendant and the circumstances related to the COVID-19 pandemic present good cause for the

17   continuance of these deadlines. Based upon the above information, the parties propose the following new

18   discovery deadlines in this matter:

19   Initial Disclosures

20            Defendant Tokio Marine shall provide its initial disclosure statements and documents to Plaintiffs’

21   counsel by October 29, 2020.

22   Discovery Cut-Off

23            The current discovery cut-off deadline is November 10, 2020. The parties propose this be moved

24   to May 10, 2021. This date is 181 days following the current date because the date 180 days from the

25   current date is a Sunday.

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1    Expert Disclosures

2             All prospective expert witnesses were required to be disclosed on or before September 11, 2020.

3    The parties propose the new date for this deadline as March 10, 2021. All prospective rebuttal expert

4    witnesses were required to be disclosed on or before October 12, 2020. The parties propose the new date

5    for this deadline as April 10, 2021.

6    Dispositive Motions

7             The parties current deadline for filing dispositive motions in this case is December 10, 2020. The

8    parties propose the new dispositive motion deadline date of June 8, 2021.

9    Joint Pretrial Order

10            The current Joint Pretrial Order deadline in this case is January 11, 2021. The parties propose July

11   12, 2021 as the new Joint Pretrial Order deadline. This date is 182 days following the current date set

12   because the date 180 days falls on a Saturday. In the event dispositive motions are pending before the

13   Court on that date, the date for filing the Joint Pretrial Order shall be suspended until thirty days after the

14   date of the Court’s decision on the last dispositive motion.

15            The parties make this request to extend deadlines in good faith and not for the purposes of undue

16   delay of these proceedings. The parties are requesting only the amount of additional time they deem

17   necessary for completion of discovery in this matter.

18

19

20   Dated: October 16, 2020                                THE URBAN LAW FIRM

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                                                           /s/ Nathan R. Ring
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1    Dated: October 16, 2020                   LAW OFFICE OF DANIEL MARKS

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                                                      /s/ Adam Levine
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                                               Fax: (702) 386-6812
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                                               Counsel for Defendants
7

8
                                                  ORDER
9
     The parties' stipulation is GRANTED in part and DENIED in part. The Court will extend the
10   deadlines in the operative DPSO by 92 days. The discovery deadline is therefore
     2/15/2021. This will allot the parties 122 days of  ITdiscovery  (rather than 180) beginning
                                                            IS SO ORDERED:
11   from the date that the parties filed their stipulation. The Court declines at this time to grant
     the parties' request for a 6-month extension because it does not believe there exists good
12
     cause for such a lengthy extended period. If the parties find they are unable to complete
13   Dated:___________________
     discovery within the extended period then the Court _____________________________________
                                                              is happy to consider a stipulation or
     motion.                                             UNITED STATES MAGISTRATE JUDGE
14

15
                                                          IT IS SO ORDERED
16
                                                          DATED: 1:30 pm, October 20, 2020
17

18

19                                                        BRENDA WEKSLER
                                                          UNITED STATES MAGISTRATE JUDGE
20

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